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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                           )
                                                    )
                      Plaintiff,                    )
                                                    )
               v.                                   )       Case No. 11-cr-30120-SMY
                                                    )
CHAD VINCENT IACONA,                                )
                                                    )
                      Defendant.                    )

                               MEMORANDUM AND ORDER

YANDLE, District Judge:

       A jury convicted Chad Vincent Iacona of access device fraud and aggravated identity theft

on December 2, 2011. District Judge Michael J. Reagan subsequently sentenced Iacona to 39

months’ imprisonment and 3 years of supervised release and ordered him to immediately pay

restitution in the amount of $75,424.98 and a special assessment of $200 (Doc. 56). Iacona

appealed his conviction but his appeal was denied (Doc. 89).

       According to the Bureau of Prisons’ website, Iacona was released from custody on

February 13, 2015. He still owes $66,699.98 on his debt to the United States and, according to the

Government, has not made a payment in over 2 years. The Government has received information

indicating that Iacona is self-employed and receives his earnings through C.C.C Transportation

LLC. (Doc. 95).

       On May 6, 2020 the United States, using the tools of post-judgment discovery as allowed

by 28 U.S.C. § 3015(a), served a subpoena on C.C.C Transportation LLC requiring that records

pertaining to Iacona be produced at the United States Attorney’s office by June 5, 2020. (Doc. 96-

1). The company did not respond by that date. The United States then sent a letter to C.C.C

Transportation LLC’s registered agent on June 12, 2020, inquiring about the records. (Doc. 96-2).
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The company did not respond, and the United States moved this Court for an order to show cause

why Iacona and his company should not be held in contempt for failing to obey the subpoena.

(Doc. 96). The case is now before the Court sua sponte following the entry of an Order to Show

Cause requiring Defendant Chad Vincent Iacona and his company, C.C.C Transportation, LLC to

explain by October 8, 2020 why the company has not responded to a subpoena issued by the United

States of America related to the collection of criminal restitution (Doc. 98).1 A review of the docket

reveals that as of this date, neither Defendant Iacona nor C.C.C. Transportation, LLC has

responded to the Order to Show Cause. Defendants’ failure to respond is a direct violation of an

Order of this Court.

        Rule 45(g) of the Federal Rules of Civil Procedure permits a court to hold in contempt a

person who has been served with a subpoena and fails, without a good excuse, to comply with it.

The Seventh Circuit has described the elements of contempt as follows:

        To prevail on a request for a contempt finding, the moving party must establish by
        clear and convincing evidence that (1) a court order sets forth an unambiguous
        command; (2) the alleged contemnor violated that command; (3) the violation was
        significant, meaning the alleged contemnor did not substantially comply with the
        order; and (4) the alleged contemnor failed to make a reasonable and diligent effort
        to comply. U.S. S.E.C. v. Hyatt, 621 F.3d 687, 692 (7th Cir. 2010)

This Court does not take the prospect of contempt findings lightly. But when a party openly

disregards its orders, there is little choice but to apply coercive measures to force compliance. In

this case, Chad Vincent Iacona has been given notice of the possibility of contempt sanctions and

the opportunity to be heard. He has made no effort to comply, and therefore, contempt sanctions

are warranted.




1
 The United States was directed to send a copy of the Show Cause Order by regular and certified mail to Iacona and
C.C.C. Transportation, LLC and to provide proof of doing so. The United States did so on September 11, 2020. (Doc.
99).


                                                        2
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       This Court has at least two options for civil contempt sanctions, including fines and

imprisonment. See Teledyne Techs., Inc. v. Shekar, No. 15-CV-1392, 2015 WL 3799559, at *12

(N.D. Ill. June 17, 2015), aff'd, 739 F. App'x 347 (7th Cir. 2018) and In re Grand Jury Proceedings,

280 F.3d 1103, 1107 (7th Cir. 2002). Given Iacona’s failure to pay his existing criminal monetary

penalties, it is unlikely that additional fines will be effective in compelling him to comply with the

subpoena. However, a fine may have some impact when applied to his company, as he appears to

channel his income through this entity. As for Iacona individually, coercive imprisonment appears

to be the only effective enforcement mechanism. He may, however, purge himself of contempt by

simply complying with the subpoena at issue in this case.

       IT IS HEREBY ORDERED that Defendants Chad Vicent Iacona and C.C.C.

Transportation, LLC are HELD IN CIVIL CONTEMPT OF COURT. Accordingly, a fine is

imposed against C.C.C. Transportation, LLC in the amount of $250.00 per day beginning on

October 22, 2020 until it supplies the documents demanded in the subpoena dated May 6, 2020

(Doc. 96-1). The Clerk of Court is DIRECTED to issue an arrest warrant for Chad Vincent Iacona

and forward it the United States Marshal for execution. He is to be brought before the Court and

thereafter confined until such time as he supplies the documents demanded in the subpoena dated

May 6, 2020 (Doc. 96-1).

IT IS SO ORDERED.

DATED: October 21, 2020


                                                              STACI M. YANDLE
                                                              United States District Judge




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